           Case 2:08-cr-00318-DAD Document 229 Filed 12/08/10 Page 1 of 2


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 8                    IN THE UNITED STATES DISTRICT COURT

 9                 FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,     )         CR NO. S-08-318 LKK
                                   )
12             Plaintiff,          )         ORDER SETTING TRIAL DATE
                                   )         AND EXCLUDING TIME
13        v.                       )
                                   )
14   ELIZABETH CARRION, et al.,    )
                                   )
15   __________Defendants,_________)
     ______________________________)
16

17        On December 7, 2010, in the courtroom of the Honorable

18   Lawrence K. Karlton, United States District Judge, this matter

19   came on for a trial-setting status conference.         Russell L.

20   Carlberg, Assistant United States Attorney, appeared for the

21   United States.   Bruce L. Locke, Esq., appeared on behalf of

22   defendant Elizabeth Carrion.      Dwight M. Samuel, Esq., appeared on

23   behalf of defendant Angelito Evangelista.        Carl Larsen, Esq.,

24   appeared on behalf of his client, defendant Rommel Antolin, and

25   specially appeared for attorney Scott Cameron (who was in trial),

26   on behalf of defendant Arthur Evangelista.

27        After hearing from counsel their availability, the Court set

28   the trial of the matter for June 14, 2011, at 10:30 a.m., in
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           Case 2:08-cr-00318-DAD Document 229 Filed 12/08/10 Page 2 of 2


 1   Courtroom No. 4, before the Honorable Lawrence K. Karlton.             The

 2   Court also set the trial confirmation hearing for May 24, 2011,

 3   at 9:15 a.m., in Courtroom No. 4, before the Honorable Lawrence

 4   K. Karlton.

 5        Regarding exclusion of time under the Speedy Trial Act, the

 6   Court makes the following findings.       The government has provided

 7   in electronic format a total of approximately 25,000 pages of

 8   discovery.    Additional time is needed to review these documents,

 9   and to investigate and to prepare the case for trial.          Moreover,

10   counsel have various scheduling conflicts, and the need for

11   continuity of counsel outweighs an earlier trial date.           Because

12   it is a multi-defendant case involving a number of allegedly

13   fraudulent mortgage loans, the previous designation of case

14   complexity still applies.

15        Accordingly, the Court finds that the interests of justice

16   outweigh the best interests of the public and the defendants in a

17   speedy trial, and time, therefore, will be excluded as to all

18   defendants from December 7, 2010, through and including June 14,

19   2011, on the basis of reasonable preparation of defense counsel

20   taking into account the exercise of due diligence, 18 U.S.C. §

21   3161 (h)(7)(B)(iv) (local code T-4), and case complexity, 18

22   U.S.C. § 3161 (h)(7)(B)(ii) (local code T-2).

23   IT IS SO ORDERED.

24   Dated: December 7, 2010

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